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                                  UNITED STATES DISTRICT COURT
                                   MIDDLE DISTRICT OF FLORIDA
                                         TAMPA DIVISION

    CIN-Q AUTOMOBILES, INC., and
    MEDICAL & CHIROPRACTIC CLINIC, INC,
    Florida corporations, individually and as
    the representative of a class of similarly situated
    persons,

                    Plaintiffs,

    v.                                                      Case No: 8:13-cv-01592-AEP

    BUCCANEERS LIMITED PARTNERSHIP
    and JOHN DOES 1-10,

                    Defendants.
                                             /

                                    ORDER & MEMORANDUM

            This cause is before the Court on the Defendant’s Motion for Final Summary Judgment

    (“Def.’s Mot.), ECF Nos. 129, 130-37, 142, 155, 158, 160, and Plaintiffs’ response in

    opposition thereto (“Pls.’ Resp.”), ECF Nos. 144, 159, as well as Plaintiffs’ Motion and

    Memorandum of Law in Support of Summary Judgment (“Pls.’ Mot.”), ECF Nos. 138, 145,

    156-57, 159, and Defendant’s response in opposition thereto (“Def.’s Resp.”), ECF No. 143.

    For the reasons that follow, Defendant’s motion (ECF No. 129) is DENIED, and Plaintiffs’

    motion (ECF No. 138) is DENIED.

                                             I.   Background

         This action arises from a complaint filed by Plaintiffs Cin-Q Automobiles, Inc. (“Cin-Q”)

    and Medical & Chiropractic Clinic, Inc. (“MCC”) (collectively, “Plaintiffs”). Am. Compl.,

    ECF No. 70. Plaintiffs, individually and as the representative of similarly-situated persons,

    seek to recover for purported unsolicited facsimiles transmitted by Defendant Buccaneers
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    Limited Partnership (“BLP”). Am. Compl. 1, ECF No. 70. Plaintiffs assert their private right

    of action pursuant to the Junk Fax Prevention Act of 2005, 47 U.S.C. § 277 (“JFPA”), and also

    seek to recover through common law conversion claims. Am. Compl. 9, 14, ECF No. 70.

       On January 3, 2014, this Court granted BLP’s motion to bifurcate liability and class

    certification issues, determining that the appropriate standard of liability should be addressed

    prior to any consideration of class certification. Order 4, ECF No. 68. The parties subsequently

    filed the instant cross-motions for summary judgment, as well as notices of supplemental

    authority detailing their respective positions on the recent Eleventh Circuit Court of Appeals

    opinion relating to this matter, which the Court construes as amendments to the parties’ motions

    for summary judgment.

                                              II.       Facts

       In January 2009, Matthew Kaiser (“Kaiser”), an employee of BLP tasked with new business

    development, contacted a Steven Simms (“Simms”), Executive Vice President of Marketing

    with FaxQom—a purported entity claiming to be in the business of facsimile marketing. Def.’s

    Mot. 4, App. at 4-9, ECF No. 130. Kaiser, having discussed legal concerns with Simms as well

    as FaxQom’s vast library of “opt-in” numbers, executed a fax indemnity agreement and

    engaged FaxQom to send a series of facsimiles advertising Tampa Bay Buccaneers tickets.

    Def.’s Mot. 5, Clement Dep. at 184-186, Mar. 10, 2013, ECF No. 132-1; Def.’s Mot. 6, App.

    at 34, ECF No. 130.

       Several months later, in July 2009, BLP directed FaxQom to fax such advertisements to

    numbers comprising a series of area codes in and around the greater Tampa Bay area. Pls.’

    Mot. 4, Ex. C at 12, 138-4. One of the faxes, sent to area code 813 on July 15, 2009, was

    received by MCC. Pls.’ Mot. 4, Ex. D at 20, ECF No. 138-5. Following this first wave of




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    faxes, BLP received multiple complaints from Tampa Bay area residents, reacting internally by

    requesting that FaxQom remove the individuals’ fax numbers from future lists. Pls.’ Mot. 5,

    Ex. C at 22-26, ECF No. 138-4.

       Subsequently, on August 13, 2009, BLP directed FaxQom to send a second wave of faxes

    to the same series of area codes. Pls.’ Mot. 6, Ex. C at 31, ECF No. 138-4. Cin-Q alleges it

    received one of the fax transmissions on August 19, 2009. Pls.’ Mot. 6, Ex. E at 267-68, ECF

    No. 138-6. As with the initial round of faxes, objections followed the August 2009 fax

    transmissions. One such notice came from attorney Phyllis J. Towzey, who warned BLP that

    it was violating the Telephone Consumer Protection Act of 1991 (“TCPA”), 47 U.S.C. §

    227(b)(1)(C), and offered to settle for $1,000—later debating BLP over the meaning and

    purpose of “sender” liability under the statute. Pls.’ Mot. 7, Ex. F, ECF No. 138-7. Another,

    more formal complaint came from Cin-Q, who filed a class-action lawsuit against BLP on

    August 28, 2009. Pls.’ Mot. 7, Ex. H, 138-9, ECF No. 138-9.

        On October 2, 2009, BLP sent a letter to FaxQom demanding indemnification and legal

    defense. Pls.’ Mot. 8, Ex. C at 36, ECF No. 138-4. Several months later, on May 18, 2010,

    BLP directed FaxQom to send a third wave of faxes, this time containing indemnification

    language. Pls.’ Mot. 8, Ex. C at 38, ECF No. 138-4. MCC once again received a facsimile

    transmission during this cycle. Pls.’ Mot. 9, Ex. J, ECF No. 138-11. Following the third

    transmission sequence, BLP received a letter from the Florida Attorney General advising the

    company to immediately stop the facsimile transmissions. Pls.’ Mot 9, Ex. C at 48, ECF No.

    138-4. BLP ordered FaxQom to stop transmitting faxes on June 9, 2010, and several days later

    notified FaxQom that no future faxes would be sent pending the result of legal research on the

    matter. Pls.’ Mot. 10, Ex. C at 53-54, ECF No. 138-4.




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           Subsequent deposition testimony appears to have unveiled a complicated web of

    conflicting facts underlying the relationships set forth in the above-mentioned sequence of

    events. For example, testimony points to an individual named Michael Clement (“Clement”)

    as having operated under the alias of Simms, a fiction created by Clement to “keep his name

    out of it.” Def.’s Mot. 11, Michael Wayne Clement Dep. at 68-80, Mar. 10, 2014, ECF No.

    132. Further, it appears that FaxQom is not a legal entity, and, unbeknownst to BLP, may not

    have sent any facsimile transmissions itself, Def.’s Mot. 11, Clement Dep. at 79, ECF No. 132,

    instead delegating the task to third-party databases and transmitters, who, in turn, delegated

    tasks to other third parties. Def.’s Mot. 12, Clement Dep. at 254-55, ECF No. 132-1; Def.’s

    Mot. 13, Jonathan Nelson Dep. at 19, Jan. 16, 2014, ECF No. 134. It is unclear precisely how

    far removed BLP was from the party that ultimately undertook physically pressing the send

    button in every transmission, but BLP generally appears to have been two to three degrees of

    connection removed from the transmissions. Def.’s Mot. 13, Nelson Dep. at 19, 35, ECF No.

    134; Def.’s Mot. 13, Brian Sheekey Dep. at 42, Dec. 26, 2013, ECF No. 136.

                                       III.    Legal Standard

       Summary judgment is appropriate “if the movant shows that there is no genuine dispute as

    to any material fact and the movant is entitled to judgment as a matter of law.” Fed.R.Civ.P.

    56(a); see also Galvez v. Bruce, 552 F.3d 1238, 1241 (11th Cir. 2008). In considering a

    summary judgment motion, the Court must remember that “[c]redibility determinations, the

    weighing of the evidence, and the drawing of legitimate inferences from the facts are jury

    functions, not those of the judge.” Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 255 (1986).

    Thus, “[t]he evidence of the non-movant is to be believed, and all justifiable inferences are to

    be drawn in his favor.” Id.; see also Jackson v. BellSouth Telecomm., 372 F.3d 1250, 1280




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    (11th Cir. 2004) (“All reasonable doubts about the facts should be resolved in favor of the non-

    movant.” (quoting Burton v. City of Belle Glade, 178 F.3d 1175, 1187 (11th Cir. 1999))).

    Moreover, “although the court should review the record as a whole, it must disregard all

    evidence favorable to the moving party that the jury is not required to believe.” Reeves v.

    Sanderson Plumbing Prods., Inc., 530 U.S. 133, 151 (2000).

           “The party moving for summary judgment ‘bears the initial responsibility of informing the

    district court of the basis for its motion.’” Josendis v. Wall to Wall Residence Repairs, Inc.,

    662 F.3d 1292, 1314–15 (11th Cir. 2011) (quoting Celotex Corp. v. Catrett, 477 U.S. 317, 323

    (1986)). The ultimate inquiry is “whether the evidence presents a sufficient disagreement to

    require submission to a jury or whether it is so one-sided that one party must prevail as a matter

    of law.” Anderson, 477 U.S. at 251–52. Additionally, summary judgment is particularly

    appropriate where the parties present only questions of law on an issue and no disputed facts.

    See Saregama India Ltd. v. Mosley, 635 F.3d 1284, 1290 (11th Cir. 2011).

           If, after having reviewed the record through the prism of Federal Rule of Civil Procedure

    56, “the record taken as a whole could not lead a rational trier of fact to find for the non-moving

    party,” summary judgment ought be granted. Jackson, 372 F.3d at 1280 (quoting Matsushita

    Elec. Indus. Co. v. Zenith Radio Corp., 475 U.S. 574, 587 (1986)) (internal quotation marks

    omitted).

                                             IV.    Analysis

      i.      BLP’s Status as “the sender”

           The TCPA, in relevant part, makes it unlawful for any person to use a fax machine,

    computer or other device to send an unsolicited advertisement to a fax machine if the sender or

    recipient is in the United States. 47 U.S.C. § 227(b)(1)(C); e.g., Palm Beach Golf Ctr.-Boca,




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    Inc. v. Sarris, 981 F. Supp. 2d 1239, 1247 (S.D. Fla. 2013) rev'd and remanded on other

    grounds, 771 F.3d 1274 (11th Cir. 2014); Ira Holtzman, C.P.A. v. Turza, 728 F.3d 682, 683

    (7th Cir. 2013), reh'g denied (Sept. 24, 2013), cert. denied sub nom. Turza v. Holtzman, 134 S.

    Ct. 1318 (2014). The statute provides a private right of action for injunctive relief and for

    damages equal to the actual monetary loss or $500 for each violation. 47 U.S.C. § 227(b)(3).

       BLP asserts summary judgment is warranted in its favor because, as a matter of law,

    Plaintiffs are unable to establish that BLP used a facsimile machine to send the advertisements

    at issue. Def.’s Mot. 13, ECF No. 129. According to BLP, a violation of the TCPA requires

    that a “sender” be an entity actually using a facsimile machine to send facsimiles. Def.’s Mot.

    13-14, ECF No. 129. BLP also contends that, absent direct participation, an agency relationship

    is required to establish BLP’s liability under the statute—something BLP further argues is

    absent in the instant action. Def.’s Mot. 13-24, ECF No. 129. Conversely, Plaintiffs move for

    summary judgment asserting that BLP is ultimately liable under the TCPA for the mere fact

    that its goods or services are advertised in the faxes at issue and, additionally, because the

    facsimiles at issue were sent on behalf of BLP. Pls.’ Mot 1, 12, ECF No. 138. Plaintiffs also

    contend that BLP is directly and vicariously liable under the principles of common law agency

    and tort. Pls.’ Mot. 16, ECF No. 138.

       Subsequent to the parties’ summary judgment submissions in this case, the Eleventh Circuit

    Court of Appeals addressed the issue of TCPA liability in Palm Beach Golf Ctr.-Boca, Inc. v.

    Sarris (“Sarris”), 771 F.3d 1274 (11th Cir. 2014). In Sarris, the Eleventh Circuit overturned a

    district court ruling that a plaintiff could only prevail under the TCPA against a delegating

    defendant on a theory of vicarious liability. Id. at 1290. The district court had relied on In re

    DISH Network, LLC, 28 FCC Rcd. 6574 (2012) (declaratory ruling) (“DISH Network”), in




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    holding that an unsolicited fax transmission constituted a violation of the TCPA only by the

    person physically transmitting the fax itself. Id. at 1283. The Eleventh Circuit, instead, rejected

    DISH Network as controlling on this particular issue and, furthermore, expressly rejected the

    contention that the “sender” of the fax must be the person who physically transmitted it, id. at

    1284-1285 (“Accordingly, because DISH Network did not address the TCPA's junk-fax-ban

    provision, the District Court's reliance on it . . . was misplaced.”), a premise upon which BLP

    builds its motion for summary judgment.

       Undeterred, BLP, through its supplemental authority, submits the Sarris decision as

    dispositive of BLP’s motion. Def.’s Notice Suppl. Authority, ECF No. 160. BLP argues that

    Sarris requires a contract between the defendant and the entity that sent the facsimile and

    authorization.   Def.’s Notice Suppl. Authority, ECF No. 160.           This position, however,

    misconstrues Sarris and ignores the FCC regulation governing this claim. 1 See Sarris, 771 F.3d

    at 1284 n. 7 (noting that In the Matter of Rules & Regulations Implementing the Tel. Consumer

    Prot. Act of 1991 Junk Fax Prevention Act of 2005, 21 F.C.C. Rcd. 3787, 3822 (2006), accords

    with the pre-2006 construction).

       Sarris held that “a person whose services are advertised in an unsolicited fax transmission,

    and on whose behalf the fax is transmitted, may be held liable directly under the TCPA's ban

    on the sending of junk faxes.” 771 F.3d at 1284. The Court’s holding is ultimately premised

    on an approval, per Chevron’s deference standard, 2 of a 1995 FCC Memorandum Opinion and

    Order. Sarris, 771 F.3d at 1286-87 (“Having found the term “to send” undefined by the TCPA

    and that the term is ambiguous, our inquiry turns on the question of whether the FCC's


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             In Sarris, the cause of action was governed by a 1995 FCC Memorandum Opinion and
    Order, as the action accrued in 2005—preceding the 2006 regulation. Sarris, 771 F.3d at 1284
    n. 7.
           2
             Chevron U.S.A. Inc. v. Natural Res. Def. Council, Inc., 467 U.S. 837, 842–43 (1984).



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    interpretation of who qualifies as the ‘sender’ of an unsolicited fax advertisement, as used in

    the statute, is permissible. We find that it is.”) (citing Quinchia v. U.S. Att'y Gen., 552 F.3d

    1255, 1258 (11th Cir.2008) (alterations in original) (quoting Chevron, 467 U.S. at 842–43)).

       It is clear from the FCC’s 1995 decision, as well as its 2006 TCPA Order, that,

    notwithstanding any attenuated contractual privity of the parties, “the FCC has placed liability

    at the source of the offending behavior that Congress intended to curtail.” See Sarris, 771 F.3d

    at 1287 (citing In re Rules & Regulations Implementing the Telephone Consumer Protection

    Act of 1991, 10 FCC Rcd. at 12407) (emphasis added); In the Matter of Rules & Regulations,

    21 F.C.C. Rcd. at 3822.      Therefore, “[t]he entity or entities on whose behalf facsimiles are

    transmitted are ultimately liable.” Sarris, 771 F.3d at 1285. This standard does not serve to

    insulate a delegating source from liability, nor does it, as BLP contends, necessitate a finding

    of liability through a formal agency relationship. Id. As noted by the Eleventh Circuit,

    vicarious liability under the federal common law principles of agency “does not necessarily

    speak to the liability of a seller, who, through a third party, send[s], to a telephone facsimile

    machine, an unsolicited advertisement.” See id. (internal quotations omitted). BLP’s motion

    in this regard therefore fails as matter of law. See id.

       Plaintiffs, in turn, argue that the decision in Sarris, as well as the FCC’s codification of the

    “on whose behalf” standard approved in the case, compel judgment under the TCPA against

    BLP. 3 Pls.’ 1-2, ECF No. 159. This position similarly fails to accurately reflect Sarris and the

    FCC’s 2006 Final Rule promulgation.



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             Insofar as Plaintiffs appear to move for summary judgment both on behalf of the class
    representatives as well as the entire class, the record does not support such a motion at this
    procedural juncture in the case. The record before the Court lacks any indication of which
    telephone numbers the facsimiles at issue were sent to, absent a handful of individuals who
    filed complaints against and/or contacted BLP. See, e.g., Pls.’ Mot, Ex. B at 119, 143, 150 ECF



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       Plaintiffs first argue that BLP is the sender under both parts of the regulatory definition, that

    is, BLP is the sender even if the faxes were not sent on its behalf. Pls.’ Mot 12, ECF No. 138.

    Plaintiffs rely on 47 C.F.R. § 64.1200(f)(10) (2008), which reads:

           The term sender for purposes of paragraph (a)(4) of this section means the
           person or entity on whose behalf a facsimile unsolicited advertisement is sent or
           whose goods or services are advertised or promoted in the unsolicited
           advertisement.

    Accord In the Matter of Rules & Regulations, 21 F.C.C. Rcd. 3787, 3822 (f)(8) (2006); In the

    Matter of Rules & Regulations Implementing the Tel. Consumer Prot. Act of 1991 Junk Fax

    Prevention Act of 2005, 23 F.C.C. Rcd. 15059, 15069 n. 20 (2008). According to Plaintiffs, a

    “sender” can, therefore, be either the person or entity “on whose behalf” the fax is sent or the

    person or entity whose “goods or services are advertised.” In other words, both are sufficient

    conditions to be a “sender” under the TCPA. Pls.’ Mot. 13, ECF No. 138.

           This interpretation fails for several reasons. First, the FCC’s 2006 Order 4 clarifies itself

    by noting the following:

           We take this opportunity to emphasize that under the Commission's
           interpretation of the facsimile advertising rules, the sender is the person or entity
           on whose behalf the advertisement is sent. In most instances, this will be the
           entity whose product or service is advertised or promoted in the message. As
           discussed above, the sender is liable for violations of the facsimile advertising
           rules, including failure to honor opt-out requests. Accordingly, we adopt a
           definition of sender for purposes of the facsimile advertising rules.




    No. 138-3 (depicting several generic Broadcast Confirmation pages); Pls.’ Mot, Ex. B, BLP’s
    Resp. Requests Admis., ECF No. 138-3 (denying requests 27, 48, 62, 65, 105-110).
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             The Code of Federal Regulations governing this claim was effective November 14,
    2008 to July 10, 2012—the time period in which Plaintiffs’ claims began to accrue. See 47
    C.F.R. § 64.1200 (2008). The relevant language of the subsection is identical to the 2006
    language approved to amend Part 64 of the Code of Federal Regulations. See In the Matter of
    Rules & Regulations, 21 F.C.C. Rcd. 3787, 3822, App. A at (f)(8) (2006).



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    In the Matter of Rules & Regulations, 21 F.C.C. Rcd. at 3808 (emphasis added). The statement

    above implies that a necessary condition to being a “sender” is that the facsimile is sent on their

    behalf, and that, in at least some instances, an entity whose product or service is advertised or

    promoted will not be a sender. This speaks to a much more reasonable interpretation, to wit: a

    sender is the person or entity on whose behalf a facsimile is sent [containing] (1) an unsolicited

    advertisement or (2) goods or services advertised or promoted in the unsolicited advertisement.

           Such an interpretation is also supported by Sarris, which notes that the FCC’s pre-2006

    construction accords with the 2006 decision detailed above in In re Rules & Regulations

    Implementing the Telephone Consumer Protection Act of 1991. See Sarris, 771 F.3d at 1284

    n. 7 (discussing In re Rules & Regulations, 10 FCC Rcd. at 12407). A 2006 version of the

    regulation that purports to add an alternative method to establish sendership, one completely

    independent of the “on whose behalf” standard endorsed in Sarris, would not appear to “accord”

    with its predecessor. See Sarris, 771 F.3d at 1284 n. 7, 1285 (“Thus, in 1995 the FCC stated

    that the TCPA provided for direct liability for an entity on whose behalf goods or services were

    promoted by unsolicited fax advertisement.”).

           Finally, Plaintiffs’ interpretation leads to absurd results which cannot possibly follow

    from a permissible construction of the TCPA or from an agency’s reasonable interpretation of

    its regulations. 5 See Chevron, 467 U.S. at 842–43; Blessitt v. Ret. Plan For Employees of Dixie

    Engine Co., 848 F.2d 1164, 1168 (11th Cir. 1988). To conclude that an individual or entity is

    per se a “sender” under the TCPA merely because their “goods or services” appear as advertised



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              The Court recognizes the courts of appeals’ exclusive jurisdiction over claims to
    enjoin, suspend, or invalidate a final order of the FCC and raises this point merely as one of
    analytical construction and interpretation. See Self v. Bellsouth Mobility, Inc., 700 F.3d 453,
    461 (11th Cir. 2012). Here, the Court need not and does not intend to collaterally review the
    correctness or validity of the FCC decisions at issue.



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    in the faxes at issue, Pls.’ Mot. 12-13, ECF No. 138, would give rise to, what the parties have

    labeled, sabotage liability.    By way of illustration, it would allow a rabid Tampa Bay

    Buccaneers fan—with a rhino helmet, red face paint, and an undying devotion to the

    organization—to trigger per se liability for the organization under the TCPA by gratuitously,

    and without directive from or notice to the organization, promoting season ticket sales via fax.

    The same could be true of a random individual in Boston, mind brewing with scienter, who

    works to implicate the New York Yankees by advertising their season tickets. 6 Universal

    liability for complete inaction was not contemplated by Congress in passing the TCPA and does

    not appear to have been contemplated by the FCC in crafting and interpreting its regulations.

    As detailed in Sarris, Congressional intent sought to limit two injuries by enacting the

    provision: (1) the “shift[ing of] some of the costs of advertising from the sender to the

    recipient,” and (2) the “occup[ation of] the recipient's facsimile machine so that it is unavailable

    for legitimate business messages while processing and printing the junk fax.” H.R.REP. NO.

    102–317, at 10 (1991); 771 F.3d at 1281. Once again, “the FCC has placed liability at the

    source of the offending behavior that Congress intended to curtail.” See Sarris, 771 F.3d at

    1287.

            It is for this reason that the statute does not call for per se liability, but rather “[t]he

    TCPA is essentially a strict liability statute …” See Alea London Ltd. v. Am. Home Servs., Inc.,

    638 F.3d 768, 776 (11th Cir. 2011) (emphasis added). Accordingly, Plaintiffs cannot dispense

    with the burden of proving that the faxes at issue were sent on behalf of BLP. BLP is not merely



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             The Court declines to, as Plaintiffs proposed in oral argument, ignore the illogic
    created by such an interpretation simply because the facts of this case don’t necessarily match
    a sabotage scenario. Doing so would, in essence, require the Court to blindly interpret and
    apply an agency regulation within the vacuum of this case—a restriction not applied to judicial
    reasoning in our system.



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    a per se sender because their advertising is included in the faxes at issue—an action or inaction

    that sets the causal chain in motion must, in some way, be attributable to BLP. See Sarris, 771

    F.3d at 1284 (“We agree, and hold that a person whose services are advertised in an unsolicited

    fax transmission, and on whose behalf the fax is transmitted, may be held liable directly under

    the TCPA's ban on the sending of junk faxes.” (emphasis added)).

           Having concluded that the FCC’s construction of the statute, as endorsed by Sarris,

    requires that BLP be the entity on whose behalf a facsimile(s) was sent in order to qualify as a

    “sender,” the question remains whether a material issue of fact exists for trial. Plaintiffs insist

    that, in light of Sarris, BLP may be held liable directly under the TCPA and, additionally, that

    no issues of material fact exist as to its liability under the Act. Pls.’ Notice Suppl. Authority

    Supp. Summ J., ECF No. 159.

           As mentioned above, the Sarris opinion makes clear that vicarious liability through

    common law agency is not required for an entity to be held directly liable under the TCPA. See

    771 F.3d at 1285-87. By the same stroke, however, Sarris also appears to reject the application

    of per se, automatic liability. See id. at 1287-88. While intent may not be necessary to establish

    sendership, liability does not impulsively and invariably run to the beginning of the chain of

    distribution. See id. The opinion, notably, rejects the requirement of vicarious liability through

    common law agency but goes on to determine—despite a clear connection between defendant,

    defendant’s marketing manager, a third party broadcaster, and plaintiff—that a factual query

    exists as to “the question of on whose behalf the fax advertisement was sent.” See id.

    (remanding the issue for jury determination).

           This Court is, therefore, left only to conclude that “on whose behalf” is a standard lying

    somewhere in the middle—more forgiving than a blanket application of per se liability but




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    somewhat more stringent than vicarious liability through common law agency. It seems Sarris

    has, in essence, allowed for direct liability through a totality test based loosely on agency

    principles, aimed at establishing the origin of the offending behavior. See id. at 1287 (“By

    construing the sender as the party ‘on whose behalf facsimiles are transmitted,’ the FCC has

    placed liability at the source of the offending behavior that Congress intended to curtail.”).

    Circumstances to be considered include, but are not limited to, the degree of input and control

    over the content of the fax(es), the actual content of the fax(es), contractual or expressly stated

    limitations and scope of control between the parties, privity of the parties involved, approval of

    the final draft of the fax(es) and its transmission(s), method and structure of payment, overall

    awareness of the circumstances (including access to and control over facsimile lists and

    transmission information), and the existence of measures taken to ensure compliance and/or to

    cure non-compliance with the TCPA.          See id. at 1287-88.     These considerations weigh

    importantly in determining on whose behalf the offending behavior is conducted. See id.

           Viewed through this lens, in the instant case, “on whose behalf” is a question for which

    material issues of fact exist in the record. In reaching this conclusion, the Court is mindful that

    it must draw all inferences and facts in a way most favorable to the non-moving party. See,

    e.g., Jackson, 372 F.3d at 1280. Having done so, sufficient disagreement exists as to the nexus

    between the offending conduct and BLP, the alleged party on whose behalf the faxes were sent.

           The record indicates that BLP maintained continued input and control over the content

    of the transmitted faxes, which displayed images and messages that were commercially

    advantageous to BLP. See e.g., Pls.’ Mot, Ex. C at 41, ECF No. 138-4. The record is, however,

    far less clear as to the level of control exerted by BLP over FaxQom, much less FaxQom’s

    delegates. FaxQom provied assurances, memorialized in an agreement between FaxQom and




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    BLP, that 100% of its numbers were “opt-in,” that FaxQom was familiar with the TCPA and

    industry standards, that FaxQom used “legal techniques” in gathering its fax data, that industry

    practices outlined by the Direct Marketing Association were routinely followed by FaxQom,

    and that FaxQom would abide by all laws associated with facsimile marketing. Def.’s Mot. 5-

    6, App. at 35, ECF No. 130. Further, BLP claims it was under the impression that Simms from

    FaxQom was to be the only person authorized to work on BLP’s account, and that FaxQom

    would be the only entity with the limited authority to press the “send” button. Pls.’ Mot., Ex.

    A at 23, 27, ECF No. 138-2; Def.’s Mot., Clement Dep. at 254-55, ECF No. 132. This being

    said, it is unclear whether BLP was able to effectively retain and enforce such control over

    FaxQom, as Kaiser testified that he does not “have confirmation really that anything went out.” 7

    Pls.’ Mot., Ex. A at 43, 45, ECF No. 138-2. Additionally, the record reveals that BLP had no

    access to the fax lists at issue; 8 was unaware of the FaxQom’s outsourcing to third parties USA

    Datalink, 127 Highstreet, and Rocket Messaging (collectively, “delegates”); 9 and, drawing


           7
              BLP’s lack of control in this regard is further supported in the record by a series of
    complaints, to which BLP had to react through FaxQom— at one point requesting “proof” that
    FaxQom had included opt-out language in its fax. Pls.’ Mot. 9, Ex. C, ECF No. 138-4.
    Likewise, Clement testified that because BLP did not know he was delegating tasks to third
    parties, BLP had no way of controlling FaxQom’s actions. Def.’s Mot., Clement Dep. at 245-
    55, ECF No. 132.
           8
             Kaiser stated that he never asked Simms for any of the fax numbers and that he was
    never provided with any of the fax numbers at issue. Pls.’ Mot., Ex. A at 39, ECF No. 138-2.
    Similarly, Clement testified: “Yeah, I don’t have any—never had any numbers to send to
    anybody.” Def.’s Mot., Clement Dep. at 106, ECF No. 132.
           9
               Kaiser, in response to being asked about his reaction to Michael Clement (i.e.
    Simms)’s deposition, testified: “Wow. I’m shocked that [] he used an alias. I think I’m shocked
    that he ended up using other companies to send the faxes out. You know, he only had the
    authority – limited authority that I gave him to send things, so I was surprised to see [] how far
    the trail went.” Pls.’ Mot. Ex. A at 28, ECF No. 138-2. Kaiser further stated: “FaxQom was
    the person sending [sic] the ‘Send’ button, to my knowledge, and they were the only one who
    had limited authority to do so. I was only made aware that there were other companies in the
    past couple of weeks.” Pls.’ Mot., Ex. A at 34, ECF No. 138-2.



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    inferences in favor of BLP, BLP’s control over those entities amounted to none. See Def.’s

    Mot., B. Sheekey Dep. at 94-108, ECF No. 136; Def.’s Mot., Clement Dep. at 245-55, ECF No.

    132.

           While the record indicates that BLP made repeated attempts to approve and adjust

    content, as well as direct waves of fax broadcasts to different geographical areas through

    FoxQom, Pls.’ Mot., Ex. C at 31, ECF No. 138-4, the privity of the parties involved in the

    broadcasts appears to be, as BLP argues, a tortured path of lies and deceit. See Def.’s Mot. 15,

    ECF No. 129. A reasonable jury could conclude that BLP relied on reasonable assurances by

    FoxQom, 10 which to its knowledge was the only entity involved, and took repudiative and

    curative measures when noncompliance was brought to its attention by members of the putative

    class. 11 Such an analysis could lead a rational trier of fact to conclude that the violative faxes

    were not sent on behalf of BLP but, rather, FaxQom or Datalink—the true sources of the

    offending behavior.

           This notwithstanding, evidence in the record could also support the proposition that BLP

    ratified what it knew to be offending conduct—deciding to turn a blind eye and accept the



           10
               FaxQom assured BLP that, in maintaining its opt-in list, its compiling center “uses a
    12-15 second script when calling companies and receiving the fax numbers verbally from
    company owners/employees.” Def.’s Mot., App. at 74, ECF No. 130. Moreover, BLP’s
    reliance on FaxQom’s representation that it possessed a list of 305,489 “opt-in” fax numbers
    for the area codes at issue is not unreasonable on its face. See Pls.’ Mot., Ex. A at 26, ECF No.
    138-2. Kaiser, for example, testified that later emails appeared to show that the list was dynamic
    in nature—commenting on a May 2009 number of 306,000, which “helps to solidify that it
    looks like they’re continuing to add to this list,” further noting that “in six months’ time, a
    thousand extra accounts seemed very reasonable to me, and I remember specifically looking at
    that. It seemed like they were continuing their practices of [] opting in.” Pls.’ Mot., Ex. A at
    36, ECF No. 138-2.
           11
              For instance, BLP took internal action to remove certain individuals who had
    expressed grievances, and reminded FaxQom to exclude such numbers from future waves. Pls.’
    Mot., Ex. C at 26, 31, ECF No. 138-4.



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    collateral damage created by its agent’s actions, all while hiding behind a promise of

    indemnity. 12 Ample evidence before the Court suggests this may be the case, but it is not so

    undeniable as to compel this court to grant summary judgment—especially when viewed

    against the backdrop of Sarris. See 771 F.3d at 1287-88. Ultimately, this Court cannot

    conclude that the record here—where the source, scope and form of the offending directive is

    inconclusive—supports removing this matter from the province of the jury when the Eleventh

    Circuit has unflinchingly defined the matter as engendering “a question of fact to be decided

    by a jury.” 13 See id. (citing Tolan v. Cotton, ––– U.S. ––––, 134 S.Ct. 1861, 1866, (2014)); see

    also Lind v. United Parcel Serv., Inc., 254 F.3d 1281, 1285–86 (11th Cir. 2001) (noting that the

    Supreme Court has held that “‘even in the absence of a factual dispute, a district court has the

    power to ‘deny summary judgment in a case where there is reason to believe that the better

    course would be to proceed to a full trial.’’”) (quoting 8 Black v. J.I. Case Co., 22 F.3d 568,

    572 (5th Cir. 1994) (quoting Anderson, 447 U.S. at 255)); United States v. Certain Real and

    Personal Prop. Belonging to Hayes, 943 F.2d 1292, 1297 (11th Cir.1991).




           12
              Ed Glazer, the chairman and owner of BLP, upon receiving word that complaints had
    been logged, instructed Kaiser to send him the signed indemnification agreement, noting “I
    wouldn’t worry [about the complaints].” Pls.’ Mot, Ex. C at 23, ECF No. 138-4. In the same
    vein, BLP’s efforts toward the end of the facsimile campaign (despite a pending lawsuit) appear
    to be far more focused on mitigating financial risk than overseeing and ensuring FaxQom’s
    compliance with the TCPA—even signing off on a third wave of transmissions in May 2010.
    See generally Pls.’ Mot. 8-9, ECF No. 138 (citing the record for numerous communications by
    BLP and its counsel demanding indemnification, legal defense, and that indemnification
    language be inserted into future FaxQom transmissions).
           13
              Because the Court declines to grant summary judgment as to whether BLP is the
    “sender” under the TCPA, it need not determine whether the activity at issue warrants summary
    judgment for Plaintiffs under the statute’s treble damages provision. See 47 U.S.C. § 227(b)(3).



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      ii.   Common Law Conversion Claims

            Turning finally to the parties’ cross-petitions for summary judgment on Plaintiffs’

    conversion claims: Under Florida law, “conversion consists of an act in derogation of the

    plaintiff's possessory rights, and any wrongful exercise or assumption of authority over

    another's goods, depriving him of the possession, permanently or for an indefinite time, is a

    conversion.” Star Fruit Co. v. Eagle Lake Growers, Inc., 33 So.2d 858, 860 (1948) (quoting

    53 AM.JUR., at 822) (internal quotation marks omitted). “Conversion is an ‘act of dominion

    wrongfully asserted over another's property inconsistent with his ownership therein.’”

    Warshall v. Price, 629 So.2d 903, 904 (Fla. 4th DCA 1993) (quoting 12 FLA. JUR.2D

    Conversion and Replevin § 1 (1979)).

            BLP first asserts that the lack of an agency relationship compels a finding that Plaintiffs’

    conversion claims fail as a matter of law. Def.’s. Mot. 24, ECF No. 129. Conversion is an

    intentional tort, e.g., Senfeld v. Bank of Nova Scotia Trust Co. (Cayman) Ltd., 450 So.2d 1157,

    1160-61 n. 6 (Fla. 3d DCA 1984); Furmanite Am., Inc. v. T.D. Williamson, Inc., 506 F. Supp.

    2d 1134, 1143 (M.D. Fla. 2007), for which joint liability may be imposed upon a finding of an

    agency relationship. See, e.g., Home Ins. Co. of New York v. Handley, 162 So. 516, 518 (1935);

    Wilson Cypress Co. v. Logan, 162 So. 489, 493 (1935); Horizon Leasing, A Div. of Horizon

    Fin., F.A. v. Leefmans, 568 So. 2d 73, 75 (Fla. 4th DCA 1990); see also 12 FLA. JUR 2D

    Conversion and Replevin § 29. The existence of such a relationship is, however, “normally one

    for the trier of fact to decide.” Villazon v. Prudential Health Care Plan, Inc., 843 So.2d 842

    (Fla. 2003) (citing Orlando Executive Park, Inc. v. Robbins, 433 So.2d 491, 494 (Fla.1983)).

    The question is, for example, resolved by summary judgment under Florida law in those cases

    where the evidence is capable of but one determination and there is no evidentiary question for




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    the jury to resolve. Font v. Stanley Steemer Int'l, Inc., 849 So. 2d 1214, 1216 (Fla. 5th DCA

    2003) (citing Goldschmidt v. Holman, 571 So.2d 422 (Fla. 1990)); Robbins v. Hess, 659 So.2d

    424, 427 (Fla. 1st DCA 1995).

           Believing Plaintiffs’ evidence and drawing all justifiable inferences in their favor,

    BLP’s motion fails to establish that the determination of whether BLP was an acting principal

    to FaxQom is so one-sided that it warrants summary judgment. See Anderson, 477 U.S. at 251–

    52. A myriad of evidence in the record supports the existence of an agency relationship under

    various theories.

           BLP’s authorization of FaxQom to send fax advertisements speaks to actual agency,

    which under Florida law, requires 1) acknowledgment by the principal that the agent will act

    for him or her, 2) the agent's acceptance of the undertaking, and 3) control by the principal over

    the actions of the agent. See Goldschmidt, 571 So.2d at 424 n. 5 (Fla. 1990); Font v. Stanley

    Steemer Int'l, Inc., 849 So. 2d 1214, 1216 (Fla. 5th DCA 2003); Ilgen v. Henderson Properties,

    Inc., 683 So.2d 513 (Fla. 2d DCA 1996), rev.denied, 686 So.2d 578 (Fla. 1996); Robbins, 659

    So.2d at 427. It is unclear whether the conduct at issue falls outside the scope of authority

    granted to FaxQom, Padgett v. Sch. Bd. of Escambia Cnty., 395 So. 2d 584, 586 (Fla. 1st DCA

    1981) (“An agent may still have acted within the scope of his authority even though he deviated

    from his employer's instructions.”), but even assuming it does, a reasonable jury could conclude

    that BLP ratified its agent’s conduct after becoming aware of its potential illegality. 14 See

    Banyan Corp. v. Schucklat Realty, Inc., 611 So. 2d 1281, 1282 (Fla. 2d DCA 1992) (“A

    principal may subsequently ratify its agent's act, even if originally unauthorized, and such


           14
               While it appears FaxQom delegated at least a portion of the fax transmissions, the
    record does not conclusively establish that FaxQom did not itself send any transmissions in
    violation of the TCPA, nor does it otherwise establish that its actions were so limited so as to
    be free from liability.



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    ratification relates back and supplies original authority.”); Oxford Lake Line v. First Nat. Bank,

    24 So. 480, 483 (1898) (discussing ratification through willful ignorance or an invariable

    intention to adopt unauthorized act(s)); Bach v. Florida State Bd. of Dentistry, 378 So. 2d 34,

    37 (Fla. 1st DCA 1979) (same); Kumar Corp. v. Nopal Lines, Ltd., 462 So.2d 1178, 1185 (Fla.

    3d DCA 1985), rev. den., 476 So.2d 675 (Fla. 1985); cf. Empire Gas & Fuel Co. v. Allen, 294

    F. 617, 619 (5th Cir. 1923) (“The rule as to the power of delegation is that a general agent has

    implied authority to delegate the performance of ministerial acts, not requiring the exercise of

    judgment and discretion, to a subagent, and that express authority is not essential.”). For

    instance, BLP was threatened with lawsuits early on in its faxing campaign, but nevertheless

    continued to direct that more faxes be sent. Pls.’ Mot., Ex. C at 22-23, 25-26, 33, ECF No. 138-

    4. Internal business records indicate a continued and increasing awareness of potential illegality

    and liability, while at the same time evidence continued transmission directives from BLP to

    FaxQom, who appears to, at the very least, have played a major role in orchestrating the

    transmissions. Pls.’ Mot., Ex. C at 24, 36, 38, 41, ECF No. 138-4. Ultimately, the evidence

    presents sufficient disagreement to require submission to a jury. See, e.g., Anderson, 477 U.S.

    at 255 (“Credibility determinations, the weighing of the evidence, and the drawing of legitimate

    inferences are jury functions, not those of the judge.”).

           Next, BLP avers that Plaintiffs’ conversion claims fail as a matter of law because the

    alleged conversion was de minimis. Def.’s. Mot. 24, ECF No. 129. This very interpretation of

    Florida law, however, was expressly rejected by the Eleventh Circuit in Sarris. 771 F.3d at

    1288. As Sarris notes, “nothing in Florida law [] requires that the property have monetary value

    in order to be converted. Id. “[T]he definition does not require property to have any specific

    value whatsoever in order to be subject to conversion . . . Although the value of the property




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    converted may be significant in determining the amount of damages to be awarded, it appears

    wholly irrelevant in assessing the legitimacy of the initial cause of action.” Id. (quoting

    Warshall v. Price, 629 So.2d 903, 904 n. 3 (Fla. 4th DCA 1993). Moreover, in the instant case,

    at least some evidence exists that the fax at issue was printed from Plaintiffs’ fax machines, as

    copies of the faxes are attached to Plaintiffs’ complaint. Am. Compl., Exs. A-C, ECF No. 70.

    Such evidence engenders a question of fact as to the amount of damages warranted, if any,

    under the cause of action. See Warshall, 629 So.2d at 904 n. 3.

           Addressing at last Plaintiffs’ motion for summary judgment on its conversion claims,

    Plaintiffs assert that BLP is directly liable under agency and tort law and, further, that BLP is

    vicariously liable for FaxQom’s acts within the scope of its employment and with apparent

    authority. Pls.’ Mot. 16-24, ECF No. 138. Once again, as detailed throughout, questions of

    material fact exist that could allow a reasonable jury to decide in favor of either party.

           All the evidence viewed in light most favorable to BLP does not obviate the need for

    jury determination because it is ambiguous whether the complicated and shifting relationship

    between BLP and FaxQom lends itself to a finding that FaxQom’s actions are attributable to

    BLP under Florida agency law. The above-mentioned facts highlighted by Plaintiffs contrast

    sharply with the proposition—supported by testimony of Keiser and Clement—that BLP was

    unaware of any systemic illegal activity and was misled by FaxQom. See supra notes 6-10, at

    13-15. As detailed above, a material question of fact exists as to whether the conduct at issue

    exceeded the scope of the agent’s authority, which, under Florida law, is “limited to what the

    principal has authorized the agent to do.” See Osorio v. State Farm Bank, F.S.B., 746 F.3d

    1242, 1253 (11th Cir. 2014) (citing Poe & Assocs., Inc. v. Estate of Vogler, 559 So.2d 1235,

    1236 (Fla. 3d DCA 1990). A reasonable jury could also conclude, upon reviewing email




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    correspondence between Kaiser and Clement, that the repeated assurances and misinformation

    supplied to BLP undermine a finding of ratification. See, e.g., Def.’s Mot., App. at 8, 16, 19,

    64,72, ECF No. 130. Moreover, the concept of apparent authority does not fit the factual dispute

    in this case, where Plaintiffs do not appear to have relied and changed positions based on

    representations made by anyone—whether it be BLP, FaxQom, Datalink, 127 HighStreet, or

    Rocket Messaging. See Mobil Oil Corp. v. Bransford, 648 So. 2d 119, 121 (Fla. 1995) (“Our

    law is well settled that an apparent agency exists only if each of three elements are present: (a)

    a representation by the purported principal; (b) a reliance on that representation by a third party;

    and (c) a change in position by the third party in reliance on the representation.”).

              Furthermore, the Court declines to address Plaintiffs’ contentions of employee liability

    and negligent supervision, as they were not pled theories of recovery, Am. Compl., ECF No.

    70, and Plaintiffs do not establish their relevance in an analysis for conversion through agency

    under Florida law. See Free v. Bland, 369 U.S. 663, 671 (1962) (suggesting that where there

    is no direct allegation of a claim in a pleading, that claim cannot be decided on summary

    judgment); Gilmour v. Gates, McDonald & Co., 382 F.3d 1312, 1315 (11th Cir. 2004) (holding

    that claims cannot be raised for the first time at the summary judgment stage); Harris v. Wal-

    Mart Stores E., LP, No. 1:11-cv-03406, 2013 WL 6795973, at *10 (N.D. Ga. Dec. 23, 2013)

    (same).




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                                        V.    Conclusion

       In light of the foregoing, Defendant’s motion (ECF No. 129) is DENIED, and Plaintiffs’

    motion (ECF No. 138) is DENIED.



           DONE AND ORDERED in Tampa, Florida, this 17th day of December, 2014.




    cc: Counsel of Record




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